   Case: 1:18-cv-08477 Document #: 125 Filed: 06/17/24 Page 1 of 3 PageID #:681




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

MELISSA ROSA,                                )
                                             )
                     Plaintiff,              )
                                             )
       v.                                    )    Case No. 18-cv-8477
                                             )
THE BOARD OF TRUSTEES OF THE                 )    Honorable Judge Lindsay Jenkins
UNIVERSITY OF ILLINOIS                       )
                                             )    Magistrate Judge M. David Weisman
                     Defendant.              )

                            PLAINTIFF’S STATUS REPORT

       Plaintiff, MELISSA ROSA, by and through her attorneys, The Coffey Law Office,

P.C. and Kurtz, Sleper & Exline, LLC, submits the following status report pursuant to the

Court’s April 5, 2024, minute order (R. 123).

       1.     On April 5, 2024, the Court entered an order granting the parties’ joint

motion for extension of time to complete fact discovery to June 21, 2024 (R. 120),

acknowledging that the parties submitted a joint deposition schedule for 23 witnesses

that will occur between April 19 and May 30, 2024 (R. 122), and ordering the parties to

file a joint status report by June 17, 2024, that confirms fact discovery has come to a close

and proposes an expert discovery schedule or a dispositive motion schedule if no expert

discovery is contemplated. R. 123.
   Case: 1:18-cv-08477 Document #: 125 Filed: 06/17/24 Page 2 of 3 PageID #:682




       2.      On June 17, 2024, Plaintiff filed her Motion for Extension of Time to

Complete Discovery (R. 124) and therein described the parties’ respective positions as to

several discovery related issues as follows:

               a. The parties agree that they need additional time to complete

                  depositions.

               b. The parties disagree as to why that is the case. Plaintiff set forth her

                  position in her Motion. Defendant has stated it will file its own motion

                  explaining its position.

               c. Plaintiff requests an extension of fact discovery to July 31, 2024, to

                  complete the remaining depositions. Defendant believes the remaining

                  depositions can be completed by July 22, 2024.

               d. The parties agree to exchange expert reports by September 15, 2024.

       3.      As far as expert discovery schedule, Plaintiff has retained one expert to

date, and may retain additional expert or two. Defendant has notified Plaintiff that it has

retained two experts to date. The are a number of significant depositions that still need

to be taken as explained in Plaintiff’s Motion (R. 124). Plaintiff respectfully suggests that

the parties submit a complete joint expert discovery schedule after the remaining fact

depositions have been taken, or directly after the end of any extension the Court deems

appropriate.




                                               2
   Case: 1:18-cv-08477 Document #: 125 Filed: 06/17/24 Page 3 of 3 PageID #:683




      4.     On June 17, 2024, Plaintiff’s counsel requested via email to Defense counsel

that the parties comply with the Court’s order and file a joint status report setting forth

the respective positions (as done above) and referencing the respective competing

motions for extension. Defense counsel refused. See Counsels’ 06-17-2024 email chain

attached hereto.

                                         Respectfully submitted,
                                         Plaintiff, MELISSA ROSA,



                                         By:     /s/ Timothy J. Coffey
                                         Timothy J. Coffey, Esq.
                                         THE COFFEY LAW OFFICE, P.C.
                                         118 N. Clinton Street Suite 125
                                         Chicago, IL 60661
                                          (312) 627-9700
                                         tcoffey@worker-law.com

                                         Heidi Karr Sleper, Esq.
                                         Kurtz, Sleper & Exline, LLC
                                         610 West Roosevelt Rd, Ste A2
                                         Wheaton, IL 60187
                                         (630) 323-9444
                                         hsleper@kselegal.com


                                         Counsel for Plaintiff, MELISSA ROSA




                                            3
